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            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                   _________________________

                             No. 22-3086
                      _________________________


UNITED STATES OF AMERICA,                                        Appellee,

           v.

STEPHEN K. BANNON,                                              Appellant.



  A PPELLEE ’ S U NOPPOSED M OTION TO R ESCHEDULE
                    O RAL A RGUMENT

     Pursuant to D.C. Cir. R. 34(g), appellee, the United States of

America, by and through the United States Attorney for the District of

Columbia, respectfully requests this Court to reschedule the oral

argument in the above-captioned case. Appellant’s counsel, David

Schoen, Esq., has kindly consented to this request. In support of this

motion, the United States submits as follows:

     1.    The Court has scheduled oral argument in this matter for

October 12, 2023, before Circuit Judges Pillard, Walker, and Garcia.
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     2.   Due to the unexpected death of the son of appellee’s counsel,

the United States respectfully requests this Court to reschedule this

argument for a time on or after November 6, 2023.

     3.   Counsel for appellant, David Schoen, Esq., has kindly

consented to this motion. He has advised that he would be available at

any time, other than November 13, 2023, and the period from November

27 through December 1, 2023.




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                             C ONCLUSION

     WHEREFORE, the United States respectfully requests that the

instant motion be granted.

                                Respectfully submitted,

                                M ATTHEW M. G RAVES
                                United States Attorney

                                E LIZABETH H. D ANELLO
                                Assistant United States Attorney

                                                 /s/
                                C HRISELLEN R. K OLB
                                D.C. Bar #426343
                                Assistant United States Attorney
                                555 Fourth Street, NW, Room 8104
                                Washington, D.C. 20530
                                Chrisellen.R.Kolb@usdoj.gov
                                (202) 252-6829




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    C ERTIFICATE OF C OMPLIANCE WITH R ULE 27(d)

     I HEREBY CERTIFY pursuant to Fed. R. App. P. 32(g) that this

motion contains 171 words, and therefore complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2)(A). This motion has been prepared

in 14-point Century Schoolbook, a proportionally spaced typeface.

                                                   /s/
                                  C HRISELLEN R. K OLB
                                  Assistant United States Attorney




                     C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that I have caused a copy of the foregoing

motion to be served by electronic means, through the Court’s CM/ECF

system,   upon   counsel   for   appellant,   David    Schoen,    Esq.,   at

schoenlawfirm@gmail.com, on this 29th day of September, 2023.

                                                   /s/
                                  C HRISELLEN R. K OLB
                                  Assistant United States Attorney
